AO 106 (Rev. 04/10) Application for a Search Warran



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Western District
                                                      __________        of Washington
                                                                 District  of __________

              In the Matter of the Search of                                  )
         (Briefly describe the property to be searched                        )
          or identify the person by name and address)                         )           Case No. MJ22-168
         Subject       1: An RV bearing                                       )
   VIN#1GBKP37N7P3311042, more fully described in                             )
                 Attachment A                                                 )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
SEE ATTACHMENT A, ATTACHED HERETO AND INCORPORATED HEREIN BY REFERENCE.

located in the              Western               District of                 Washington                    , there is now concealed (identify the
person or describe the property to be seized):

  SEE ATTACHMENT B, ATTACHED HERETO AND INCORPORATED HEREIN BY REFERENCE.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ✔ contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                    a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                 Offense Description
Title 21, U.S.C. S 841 and 846                     Distributing, or Possessing with Intent to Distribute, a Controlled Substance
Title 18, U.S.C. S 922(g)(1) and 924(c)(1)         Unlawful Possession of a Firearm by a Prohibited Person and in Furtherance of a Drug Trafficking Crime
Title 26, U.S.C. S 5861                            Unlawful Possession of an Unregistered National Firearms Act (NFA) Firearm

          The application is based on these facts:
           ✔ See Affidavit of ATF SA Louis Montana

                Delayed notice of      days (give exact ending date if more than 30 days:
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                          ✔

                                                                                                           Applicant’s signature

                                                                                                     Louis Montana, Special Agent
                                                                                                           Printed name and title

                                        worn to before me and signed in my presence


Date:         04/20/2022
                                                                                                             Judge’s signature

City and state: Seattle, Washington                                                           Brian A. Tsuchida, U.S. Magistrate Judge
                                                                                                           Printed name and title


   USAO: 2021R01291
                      AFFIDAVIT IN SUPPORT FOR APPLICATION

STATE OF WASHINGTON                    )
                                       )       ss
COUNTY OF SNOHOMISH                    )



       I, Louis B. Montana, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,
                          in Seattle, Washington, having been duly sworn, state as follows:
                                     AFFIANT BACKGROUND
       1.      I am a Special Agent (SA) with the United States Department of Justice (DOJ)
Bureau of Alcohol Tobacco Firearms and Explosives (ATF) and have been so employed since
August 30, 2020. I am currently assigned to ATF Group V in Seattle, Washington. I am an


United States Code, Section 2510(7), that is, an officer of the United States who is empowered
by law to conduct investigations of, and to make arrests for, offenses enumerated in Title 18,
United States Code, Section 2516.
       2.      I am a graduate of the Federal Law Enforcement Training Center, where I
completed ATF Special Agent Basic Training and the Criminal Investigator Training Program.
During this 27-week training, I received instruction relating to the investigation of firearm and
explosives violations. Prior to this employment, I obtained a Bachelor of Science degree in Fire,
Arson, and Explosion Investigation, and a University Intelligence Certificate with a
concentration in Science and Technology. I am a Certified Fire and Explosion Investigator and
Vehicle Fire Investigator through the National Association of Fire Investigators. Prior to this
employment, I served three (3) years as a Combat Engineer in the Kentucky Army National
Guard. Throughout my career with the ATF, I have had training and experience investigating
violent crimes against persons and crimes against the government. Additionally, I have received
training in the recognition, identification and testing of controlled substances as well as in
common methods of trafficking in narcotics and firearms.


 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 1                            UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
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                                                                                      (206) 553-7970
        3.      As a result of my training and experience, I have an understanding of the manner
in which narcotics are distributed and various roles played by individuals or groups involved in
the distribution, along with the unlawful use of firearms during crimes of violence and/or drug
trafficking and firearms trafficking.
       4.       Through my training and experience, I have encountered and become familiar
with various tools, methods, trends, paraphernalia and related articles utilized by various
traffickers in their efforts to import, export, conceal and distribute controlled substances. I am
also familiar with the manner in which drug traffickers use telephones, often cellular telephones,
to conduct their unlawful operations, and how they code their conversations to disguise their
unlawful activities.
        5.      I know from my training and experience that individuals involved in the
trafficking of controlled substances often maintain possession and control of firearms in an
attempt to protect themselves and their illegal trafficking enterprise (that is, both their drugs and
drug proceeds). Furthermore, narcotics traffickers will utilize those firearms as a means to
intimidate or ensure the loyalty of their associates and/or subordinates and to prevent those with
intimate knowledge of the organization from disclosing information to law enforcement.
        6.      The facts in this affidavit come from my own personal knowledge and
observations; my training and experience; information obtained from other agents, a confidential
informant (CI) and witnesses; review of documents and records related to this investigation; and
communications with others who have personal knowledge of the events and circumstances
described herein. This affidavit is intended to show merely that there is sufficient probable cause
for the requested warrants and pen-trap orders, and therefore does not set forth all of my
knowledge about this matter.
        7.      Based on the facts set forth in this affidavit, there is probable cause to believe that
DANE MICHAEL BRITTON has committed the offense of Distributing, or Possessing with
Intent to Distribute, a Controlled Substance, in violation of Title 21, United States Code, Section
841 and 846, Unlawful Possession of a Firearm and Unlawful Possession of a Firearm in
Furtherance of a Drug Trafficking Crime in violation of Title 18, United States Code, Section

  AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 2                            UNITED STATES ATTORNEY
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922 and 924 and Unlawful Possession of a National Firearms Act (NFA) Firearm in violation of
Title 26 United States Code, section 26. There is also probable cause to believe that DANE
MICHAEL BRITTON or associates are regularly trafficking narcotics from California in
connection with criminal activities.
                                           PURPOSE OF THE AFFIDAVIT
         8.       This affidavit is submitted in support of an application in support of an
application for a search warrant, to search the property detailed below, further described in
Attachment A, attached hereto and incorporated by these references as if set forth fully herein,
for which I believe that there is probable cause that each location contains evidence of the
aforementioned offenses. The evidence to be searched for and seized is more particularly
described in Attachment B hereto, incorporated by this reference.
                  a.        A RV bearing VIN#1GBKP37N7P3311042 located at 13102 25th
Drive Southeast, Everett, Washington, 98208.

                                 STATEMENT OF PROBABLE CAUSE
         9.       The United States, including ATF, is conducting a criminal investigation of
DANE MICHAEL BRITTON and others regarding possible violations of Title 21, United States
Code, Section 841, and Title 18, United States Code, Section 922, and related crimes.
                                            Investigative Background
                                                                                                              1
         10.      On August 8, 2021,
provided information to ATF SA Louis Montana alleging the current criminal activities of
    Dane, later identified as DANE MICHAEL BRITTON (DOB 12/23/1968). On October 8,
2021, information was received that BRITTON was                                         the fentanyl pills, heroin,
                                                               .                                                  I


1
  The CI has a state criminal history that includes misdemeanor arrests involving drug and firearm possession, theft,
and a felon Domestic Violence conviction that occurred in 2017. The conviction was related to theft of property and
was non-violent. The CI was financially compensated by law enforcement for their cooperation. The CI
information has been largely corroborated by independent police investigation, law enforcement databases and
surveillance. Further, the CI has provided information that has led to the seizure of firearms and fentanyl in this
investigation. I am not aware of the CI making false statements to investigators, and I have found their information
to be credible and reliable.
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know that                  refer to Counterfeit Oxycodone Hydrochloride fentanyl-laced M30
pills. The CI further advised that BRITTON is known to carry a firearm and that BRITTON is
also selling and/or transporting firearms.
       11.
reveals over sixty (60) arrests and included multiple felony arrests for manufacturing, dealing
and possession of a controlled substance. In 2015, BRITTON also received felony firearm in
possession conviction. More recently, in 2020, BRITTON was arrested for manufacturing with
intent to deliver narcotics (methamphetamine) by Snohomish County Sheriff Department.
       12.     The CI stated that BRITTON was seeking to sell twenty (20) pounds of
marijuana, and that BRITTON could sell large quantities of Counterfeit Oxycodone
Hydrochloride fentanyl-laced M30 pills. BRITTON also informed the CI that BRITTON or an
                                                    -up.
   -    refers to a resupply of a batch of drugs to be further distributed.
       13.     The CI was shown a current, color Washington State                License photograph
                                                     The CI also prov
number. The CI gave information that BRITTON is known to drive multiple vehicles including a
white Nissan Altima with chrome rims, later identified as a white 2017 Nissan Altima SD,
bearing Washington State License Plate BVV6736. Law enforcement investigators observed this
2017 Nissan Altima SD, bearing Washington State License Plate BVV6736 in a parking lot
located within the cul-de-sac of a single-family residence located at 13102 25th Drive Southeast,
Everett, Washington, 98208, and its surrounding property, grounds, and outer buildings
(hereinafter Subject Premises 1, which was the subject of MJ22-158 issued on April 15, 2022, by




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the Honorable Magistrate Judge Michelle L. Peterson).2 The CI also stated


                                       th


was later identified as 13102 25th Drive Southeast, Everett, Washington 98208 (Subject
Premises 1).
         14.      Throughout the course of this investigation, investigators observed BRITTON, as
the sole occupant and driver of multiple vehicles that BRITTON parked in the driveway and
additional parking lot of the subdivision, of his residence, to include;
            a.       A Black 2004 GMC Yukon bearing Washington license plate number
BRT7506 (hereinafter Subject Vehicle 1).3
            b.      A Black 2007 Dodge Charger bearing Washington license plate number
CDA7163 (hereinafter Subject Vehicle 2).4
            c.      A White 2017 Nissan Altima SD, bearing Washington State License Plate
BVV6736 (hereinafter Subject Vehicle 3).
                  d.       A White 2014 (estimated) Dodge 1500 bearing (hereinafter Subject
Vehicle 4).
           e.     A Gold 2000 Mercedes-Benz 5004D bearing Washington license plate
number BVV4209 (hereinafter Subject Vehicle 5).5
            f.      A Blue 1994 Chevy Caprice bearing Washington license plate number
BVC7139 (hereinafter Subject Vehicle 6.)
         15.      Throughout this investigation, BRITTON has made multiple statements to the CI
and the ATF UC referring to Subject Vehicle 1, Subject Vehicle 2, and Subject Vehicle 6,


2
  Additionally authorized locations by the search warrants issued by the Honorable Magistrate Judge Michelle L.
Peterson on April 15, 2022, include: a storage unit #F8004 located at Everett Secure Self Storage (Subject Premises
2); a Black 2004 GMC Yukon bearing Washington license plate number BRT7506 (Subject Vehicle 1); a Black
2007 Dodge Charger bearing Washington license plate number CDA7163 (Subject Vehicle 2); a White 2017 Nissan
Altima SD, bearing Washington State License Plate BVV6736 (Subject Vehicle 3); a White 2014 Dodge 2014
(estimated) Dodge 1500 bearing (Subject Vehicle 4); a Gold 2000 Mercedes-Benz 5004D bearing Washington
license plate number BVV4209 (Subject Vehicle 5); and Blue 1994 Chevy Caprice bearing Washington license plate
number BVC7139 (Subject Vehicle 6).

3
  A records check of this vehicle (2004 GMC Yukon: BRT7506) reveals it is registered to Dane BRITTON.
4
  A records check of this vehicle (2007 Dodge Charger: CDA7163) reveals it is registered to Dane BRITTON.
5
  A records check of this vehicle (2000 Mercedes-Benz 5004D: BVV4209) reveals it is registered to Dane
BRITTON.
  AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 5                                     UNITED STATES ATTORNEY
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often referring to them as owned by BRITTON. BRITTON has been witnessed as the sole driver
of these vehicles and is believed to have sole access to each. On March 25, 2022, investigators
observed Subject Vehicle 3                                                                     Subject Premises
1). On April 3, 2022, investigators observed BRITTON access and operate Subject Vehicle 2.
On April 4, 2022, investigators observed Subject Vehicle 6 and Subject Vehicle 2 parked in the
driveway of Subject Premises 1. On April 4, 2022 BRITTON was observed accessing and
operating Subject Vehicle 4, which displayed a temporary license plate in the rear windshield,
despite attempts to fully identify the license plate, it was not able to be confirmed.
         16.      A law enforcement records check indicated the most current address relating to
BRITTON is located at 13102 25th Drive Southeast, Everett, Washington 98208 (the Subject
Premises 1). Investigators have conducted extensive surveillance on BRITTON and determined
BRITTON is residing at Subject Premises 1.
         17.      In October 2021, ATF SA Montana interviewed a concerned citizen (hereinafter
CC-16)                                                                      (Subject Premises 1). CC-1
stated he/she suspects BRITTON to be involved in illegal narcotics trafficking. CC-1 stated
he/she originally suspected this because neighbors were complaining that BRITTON had
                      i.e. people arriving at the residence and departing only a few minutes later) at
the Subject Premises 1. CC-                                  includes unfamiliar vehicles and individuals
                                                       and U-
                                                                            .
                          Controlled Purchase of Fentanyl-laced Pills from BRITTON
         18.      On October 19, 2021, under the direction of ATF SA Montana, the CI arranged
the purchase of approximately 1000 Counterfeit Oxycodone Hydrochloride fentanyl-laced M30
pills from BRITTON at Subject Premises 1. BRITTON confirmed the prices with the CI for the
purchase as 1000 pills for $3,500, a rate of $3.50 per pill. BRITTON told the CI that 2000 pills

6
  CC-1 is gainfully employed and has no criminal record known to investigators. CC-1 is cooperating with
                                                         -1 has provided information to investigators that has been
proven true through independent police investigation, law enforcement databases and surveillance. I am unaware of
any false information provided to investigators by CC-1 and have found CC-
reliable.
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would drop the price to $2.75 per pill. As a result, the CI arranged for an ATF undercover (UC)
agent introduction and the purchase of 1000 pills on October 25, 2021, at the Subject Premises
1.
        19.      On October 25, 2021, under the direction of ATF SAs, an operation was
conducted during which an ATF UC Agent and the ATF CI purchased approximately one
thousand (1000) suspected counterfeit Oxycodone Hydrochloride fentanyl-laced pills from
BRITTON. Earlier in the day, SA Montana instructed the CI to contact BRITTON and confirm
that the transaction would occur on the same day. BRITTON suggested to the CI that the
                                          (Subject Premises 1), which BRITTON provided to
the CI as 13102 25th Drive Southeast, Everett, Washington 98208.
        20.      Prior to the commencement of the operation, SA Montana and SA Catherine Cole
searched the CI for contraband; none was found. SA Montana provided the ATF UC Agent with
official ATF funds with which to purchase evidence. The CI entered the front passenger seat of
an ATF UC vehicle. The ATF UC Agent was equipped with an audio transmitter and recording
device in order to monitor and capture conversation during the transaction. SAs Montana and
Cole followed the ATF UC vehicle to the planned meet location.
        21.      The ATF UC vehicle, driven by the ATF UC Agent and with the CI in the
passenger seat, arrived i                                (Subject Premises 1). The CI called
BRITTON and stated that the CI was outside of the aforementioned address and instructed
BRITTON to come outside to the ATF UC vehicle.
        22.      BRITTON exited Subject Premises 1 and entered the ATF UC vehicle with the
ATF UC Agent and the CI. The ATF UC exchanged $3,500.00 of official agency funds for
approximately 1000 suspected counterfeit Oxycodone Hydrochloride fentanyl-laced pills from
BRITTON. BRITTON discussed pricing options and suggested lowering the price if more pills
were purchased. Throughout the course of the conversation, firearms were discussed, and
BRITTON stated that he                   of firearms,                  ,    the mini-AK-47, I got
the full-size,         Rs,      elite              ,                       . BRITTON
continued, I probably got about 12 or 13 guns.

 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 7                          UNITED STATES ATTORNEY
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deals and possibly trading items for the ATF UC to install a hidden compartment in
vehicle that BRITTON stated, he                              and stuff in At the conclusion of the
meeting, the CI asked BRITTON if the
deals, to which BRITTON agreed.
         23.      BRITTON exited the ATF UC vehicle and went inside the Subject Premises 1.
The ATF UC Agent and the CI departed the meet location to a predetermined de-brief location.
The vehicle was followed by SAs Montana and Cole. Upon arrival, SAs Montana and Cole took
receipt of the suspected controlled substance.7 The ATF UC Agent confirmed that $3,500.00 of
official ATF funds was exchanged for the suspected contraband.




                          Figure 1 - Purchased Fentanyl-laced Pills from BRITTON



         24.      On October 27, 2021, the CI contacted SA Montana and stated that BRITTON
contacted the CI                                                                   (206) 504-4498 and
discussed firearms. The CI traveled to                                     (Subject Premises 1) that evening


7
 On November 9, 2021, SA Montana received the results of the chemical lab analysis regarding the pills. The lab
analysis identified the following substances within the pills: N-Phenyl-N-[1-(2-phenylethyl) -4-piperidinyl]
propanamide (Fentanyl) (calc. as Hydrochloride), and Acetaminophen. Specifically, the lab determined that the
pills contained approximately 1.7 mg of fentanyl per tablet. According to the DEA, 2mg of fentanyl is
considered to be a lethal dose.
 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 8                                        UNITED STATES ATTORNEY
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and took photographs of multiple firearms present at the location. These photos depict at least
four (4) objects with characteristics that are consistent with features of actual firearms. Based on
my training and experience, the alleged firearms contained in the photographs
                                    ) Carbine, and two (2) other unidentifiable firearms.
       25.     The CI stated that BRITTON mentioned that BRITTON possesses additional
firearms that were locked up. BRITTON also stated BRITTON                             part with all of
them [for] $2000-2500 a piece or a better deal if we bought a couple.                    the CI said
that BRITTON had,                                    9mm,
connections,                    ,                          ,        brag and show me his call log
and all the calls to Mexico.                         the
California on Tuesday,                           -
       26.     Further investigation into the EXIF (Exchangeable Image Format) descriptive
data from the photographs provided by the CI revealed that the location where the photos taken
by the CI were geographically consistent with the location of Subject Premises 1. EXIF
descriptive data (meta-data) in an image file is data that provides the date the photo was taken,
resolution, shutter speed, focal length and other camera settings. The following images and
screenshots reveal the basic meta data, including the location of where the photographs were
captured:




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         27.      Further review of the location data of the photographs indicates the following
GPS (global positioning system) coordinates; 47°52'44.0"N 122°11'54.0"W. These coordinates
correspond with the location of Subject Premises 1.


         28.      On November 9, 2021, investigators received court authorization to receive
cellular site location data.8 Analysis of this GPS data between September 9, 2021, and November
9, 2021, revealed that BRITTON frequented Subject Premises 1 on a daily and overnight basis
(see figure), and frequented Subject Premises 2 on five (5) separate occasions during this time


8

or global positioning system (GPS) data. CSLI, which is also referred to as cell phone location tracking, refers to
information cell phones convey to nearby cell towers.
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period. The data also revealed that BRITTON frequented numerous casinos. Based on my
training and experience, individuals who are involved in drug trafficking often attempt to conceal
the proceeds of illicit drug sales by utilizing legitimate cash businesses to make their currency
appear legal.




                 Figure 2 - GPS Data from BRITTON's Cellular Phone at Subject Premises 1

//
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 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 11                              UNITED STATES ATTORNEY
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       Figure 3 - GPS Data from BRITTON's Cellular Phone at Subject Premises 2 (Everett Secure Storage)

                               Controlled Purchase of Firearms from BRITTON
        29.     On December 13, 2021, the CI stated that BRITTON changed phones and that
                                               -739-2931. From my training and experience,
individuals involved in illegal narcotics trafficking often change cell phones and cell phone
numbers to thwart law enforcement investigations. The CI also stated that BRITTON is
acquiring additional firearms and actively trafficking narcotics.
        30.     On February 26, 2022, the ATF UC contacted BRITTON and discussed meeting
up to purchase firearms from BRITTON.
        31.     On March 1, 2022, BRITTON texted the ATF UC from the phone number                            -
739-                                             .       ATF UC contacted BRITTON via telephone,
at 206-739-                                                                            blueberries, baby
blueberries. F                                                       is in reference to counterfeit
Oxycodone Hydrochloride fentanyl-laced pills, similar to the pills the ATF UC purchased from
BRITTON in the past.



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       32.       BRITTON then discussed selling firearms and explained how much money
                                                                                -style firearm, to the
south border.
       33.       BRITTON and the ATF UC discussed the details of the transaction. The ATF UC
stated, in sum, that he wanted to buy guns. BRITTON then explained specific firearms prices
when trafficking them to California and the Southwest United States border. BRITTON stated
the following to ATF UC:




                                                                                                    and,
       deliver to them, hand it to them, an AR is like six grand. Six thousand. Six racks for it. If I
       go all the way down to like San Diego and give them the, the, pieces, let them run with
       them across the border, I have to wait for my stuff and when I get
       wait, I have to wait for the stuff, I have to give them the pieces, they have to run across


       me the money and the product. But if I want to
       twenty-
       I give it to them, I can either cash it out on the spot, or I can have them send it with them,
                                          ut on the spot. Twenty-five hundred, four grand, six




       price. Am I right on that? So,




       34.       On March 15, 2022, the ATF UC contacted BRITTON via text at 206-739-2931,
and discussed a date and time when BRITTON would be available to meet to sell firearms to the
ATF UC. BRITTON agreed to meet the ATF UC the following day at
(Subject Premises 1).

 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 13                           UNITED STATES ATTORNEY
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 USAO # 2021R01291
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         35.      On March 16, 2022, the ATF UC contacted BRITTON via telephone at 206-739-
                                                                                                                 address
                                                         Subject Premises 1). ATF SA Montana provided
the ATF UC with official ATF funds to purchase evidence (firearms). The ATF UC Agent was
equipped with an audio transmitter and recording device in order to monitor and capture
conversation during the transaction.
         36.      An ATF UC vehicle, containing two (2) ATF UC Agents arrived at Subject
Premises 1. The ATF UC contacted BRITTON via telephone and stated the ATF UC was
outside Subject Premises 1. BRITTON stated that he would meet the ATF UC. BRITTON
exited Subject Premises 1, approached the ATF UC vehicle and spoke with the ATF UC.
BRITTON discussed firearms, methamphetamine, and fentanyl pills. The ATF UC told
BRITTON that he only wanted firearms that day but asked BRITTON about his drugs.
BRITTON quoted the ATF UC a price of $1,500.00 for a pound of methamphetamine,
$16,000.00 for a kilogram of heroin, and $1.80 a pill for M30 fentanyl pills, and assured that the
pills were of good quality. BRITTON then stated he can get 10,000-15,000 fentanyl pills at a
time. BRITTON also expressed interest in having the ATF UC install a hidden compartment in
                         Subject Vehicle 4).9 Shortly thereafter, BRITTON received a phone call,
which he answered in Spanish, and then a red Jeep Cherokee, bearing Washington license plate
BVA4040 arrived at Subject Premises 1. Law enforcement records reveal that this license plate
is registered to Jose A. OSORIO HERNANDEZ, a Mexican national, with a narcotics arrest
criminal history. BRITTON told the ATF UC to pull his vehicle behind Subject Vehicle 4 and
wait while BRITTON paid the unidentified individual from the red Jeep and then they would go
to a storage unit for the firearms. BRITTON and the two (2) unidentified individuals from the
red Jeep entered Subject Premises 1. Approximately sixteen (16) minutes later, BRITTON and
the two (2) unidentified individuals exited Subject Premises 1 and went their separate ways.10

9
  Investigators have observed BRITTON driving a white Dodge pick-up truck (Subject Vehicle 4) multiple times
parked at Subject Premises 1, with BRITTON as the sole occupant throughout this investigation.
10
   From my training and experience, I know that drug traffickers routinely conduct brief transactions in a similar
way; that is, a drug trafficker will make brief contact in or near a vehicle or residence, which obscures the casual
observer from seeing any exchange of money or drugs.
  AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 14                                          UNITED STATES ATTORNEY
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  USAO # 2021R01291
                                                                                                SEATTLE, WASHINGTON 98101
                                                                                                      (206) 553-7970
BRITTON instructed the ATF UC to follow him in his pickup truck (Subject Vehicle 4), to the
storage unit.
       37.      The ATF UC vehicle followed the Subject Vehicle 4, with BRITTON as the sole
occupant, to Everett Secure Self Storage located at 11330 4th Avenue West, Everett, WA 98204,
specifically Unit #F8004 (Subject Premises 2), located on the north side of the storage facility.
BRITTON entered the facility through a secured gate. One of the two ATF UC agents exited the
ATF UC vehicle driver d
particular handgun that BRITTON had on his person. BRITTON handed the ATF UC a
Springfield handgun and eventually stated that BRITTON is not willing to sell this particular


                                                                                         .
       38.      BRITTON then exited Subject Vehicle 4 and unlocked a secure, roll-up door to
storage unit #F8004 (Subject Premises 2) and discussed installing hidden compartments in
vehicles, narcotics, firearms and prices with the ATF UC. BRITTON explained to the ATF UC
that he wanted two (2) hidden compartments in his Dodge pickup truck (Subject Vehicle 4) -
one to hold a firearm where he could get to it quickly if needed, and another to store and traffic
narcotics or firearms. BRITTON further explained to the ATF UC:


       like, my kid or
       the hidden compartment) I want to have one in the chamber ready to rock. When I pull it,


       want
       39.      Based on my training and experience, I know that individuals involved in the
trafficking of controlled substances, often maintain possession and control of firearms in an
attempt to protect themselves and their illegal controlled substances enterprises (that is, both
their drugs and drug proceeds), therefore, the aforementioned statement made by BRITTON is
indicative of such behavior.



 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 15                          UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
                                                                               SEATTLE, WASHINGTON 98101
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         40.      BRITTON then walked into the storage unit and discussed firearm parts and
accessories, including scopes and lasers that could be included with the firearms. BRITTON then
sold three firearms with accessories to the ATF UC for a total of $3,800. The ATF UC counted
the recorded ATF official funds and completed the transaction. BRITTON then assisted the ATF
UC with loading the firearms into the ATF UC vehicle. BRITTON did not want to sell the
aforementioned Springfield handgun to the ATF UC, and BRITTON remained in possession of
the firearm after this transaction. BRITTON then secured the storage unit and, and then as the
sole occupant of Subject Vehicle 4, departed the storage facility. The ATF UC stated the
specific storage unit where the transaction occurred was the third unit on the left-hand side of the
nethermost row of units (Subject Premises 2).
         41.      SA Montana and SA Cole followed the ATF UC vehicle to the pre-determined
de-brief location, where SA Montana took receipt of the purchased firearms and accessories.11
         42.      Shortly thereafter, SA Montana returned and conducted surveillance of
                            (Subject Premises 1) and identified
(Subject Vehicle 4) parked outside his residence (Subject Premises 1).




       Figure 4 - Smith & Wesson, semi-automatic rifle, Model M&P-15, 5.56mm, S/N: TT11322 (NFA Item)




11
  The three firearms were later identified as: Smith & Wesson, semi-automatic rifle, Model M&P-15, 5.56mm, S/N:
TT11322, Ruger, semi-automatic rifle, Model Mini-14, 5.56mm, S/N:584-21695, Ruger, semi-automatic rifle,
pistol-caliber carbine, 9mm, S/N: 911-56060.
 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 16                                     UNITED STATES ATTORNEY
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 USAO # 2021R01291
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Figure 5 - Ruger, semi-automatic rifle, Model Mini-14, 5.56mm, S/N:584-21695 (Top), Ruger, semi-automatic rifle
                                  pistol-caliber carbine, 9mm, S/N: 911-56060

       43.      On March 18, 2022, ATF SA Catherine Cole, a certified Interstate Firearms and
Ammunition Nexus Expert, who has been trained in the recognition of firearms and ammunition
and their origin of manufacture, physically and visually examined the Smith & Wesson, Model
M&P-15, 5.56mm caliber semi-automatic rifle, with Serial Number (S/N): TT11322, Ruger,
Model Mini-14, 5.56mm caliber semi-automatic rifle, with S/N:584-21695, and the Ruger,
Model PC Carbine, 9mm caliber semi-automatic rifle, with S/N: 911-56060. SA Cole determined
that these firearms were not manufactured in the state of Washington. Based upon her


Model M&P-15, 5.56mm caliber semi-automatic rifle, with S/N: TT11322, the Ruger, Model
Mini-14, 5.56mm caliber semi-automatic rifle, with S/N:584-21695, and the Ruger, Model PC
Carbine, 9mm caliber semi-automatic rifle, with S/N: 911-56060 meet the definition of a firearm
under Title 18, United States Code, Section 921(a)(3). SA Cole also opined that, because the
firearm was not manufactured in the State of Washington, they therefore must have traveled in,
and thereby affected, interstate commerce if they were received or possessed in the State of
Washington.
       44.      Furthermore, The Smith & Wesson, Model M&P-15, 5.56mm caliber semi-


collapsible shoulder stock attached. This firearm is a Short-Barreled Rifle as defined in Title 26
U.S.C., Section 5845(a)(3). Your affiant conducted a records check of the National Firearms


 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 17                                  UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
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Registration and Transfer Record (NFTRT) and confirmed that BRITTON has no National
Firearms Act (NFA) weapons registered to him in the NFRTR.
       45.     Furthermore, The Smith & Wesson, Model M&P-15, 5.56mm caliber semi-


collapsible shoulder stock attached. This firearm is a Short-Barreled Rifle as defined in Title 26
U.S.C., Section 5845(a)(3). Your affiant conducted a records check of the National Firearms
Registration and Transfer Record (NFTRT) and confirmed that BRITTON has no National
Firearms Act (NFA) weapons registered to him in the NFRTR.
       46.     Additionally, based on the description of the Springfield handgun BRITTON
possessed during the firearms ATF UC-controlled


Armory does not manufacture any firearms in the state of Washington.
                             March 2022 Correspondence from CC-1
       47.     On March 23, 2022, CC-1 told investigators that he/she continues to see various
vehicles make brief stops at Subject Premises 1, CC-1 also stated that many of the people who
                                Subject Premises 1] carry small bags or backpacks.
Investigators have observed from my training and experience, individuals engaged in illegal drug
trafficking make use various sized bags to obscure the casual observer from seeing any exchange
of money or drugs.
             Subpoena Issued to Everett Secure Self Storage Facility (Subject Premises 2)
       48.     On April 4, 2022, investigators served Everett Secure Self Storage with subpoena
(Reference: 2021R01291-002) requesting the records associated with Unit #F8004. Everett
Secure Self Storage provided a rental agreement, activity log, and the Washington State drivers


BRITTON, and the lease as current and active. The 2022 activity log regarding access to the
storage facility shows that BRITTON accessed the facility on February 17, 2022, March 16,
2022 (date of UC firearm purchase from BRITTON), and on March 22, 2022.
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 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 18                         UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
                                                                              SEATTLE, WASHINGTON 98101
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                             April 2022 Correspondence from ATF UC
        49.     On April 11, 2022, the ATC UC recorded a text message conversation with
BRITTON in the morning to include the following exchange:
        UC:
        week. If u want me too i could bring my tools actuators amd switches and hook up ur



        Britton:                                        ay a couple days it my spot. I have a spare



               U still good with it for the blues? Also. If u still got the hookup who wants the



        Britton:                                e I promised them. they will want even hire if you



This conversation is referring to the ATF UC installing a hidden compartment in BRITTON
truck to conceal firearms and narcotics, as well as fentanyl pills (blueberries) as they discussed in
the past.

              Search Warrant Execution for Subject Premises #1 & 2 and Subject Vehicle 1-6
        50.     On April 19, 2022, a team of agents and officers including Seattle Police
Department, the Drug Enforcement Administration, and ATF executed a search warrant upon
Subject Premises 1 and 2 and Subject Vehicles 1-6. Investigators recovered $7,000 in U.S.
currency on BRITTON. Agents searched Subject Vehicle 4, which had been driven by Britton
immediately prior to his arrest, and located the following: one semi-automatic pistol, a backpack
containing approximately .75 pounds of methamphetamine, and other distribution amounts of
various suspected narcotics. Notably, investigators observed BRITTON carrying the backpack
containing .75 pounds of suspected methamphetamine multiple times in the past month. During a
search of Subject Vehicle 6, investigators recovered assorted ammunition.



 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 19                           UNITED STATES ATTORNEY
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 USAO # 2021R01291
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         51.   A search of                         (Subject Premises 1), investigators recovered
the following evidence: two (2) semi-automatic pistols; assorted ammunition; a ballistic vest;
various suspected narcotics including suspected fentanyl powder, suspected methamphetamine,
suspected heroin, suspected fentanyl pills, suspected cocaine, and two (2) small bags with a large
                                                       (Subject Premises 2), investigators
recovered three (3) shotguns, assorted ammunition, and various firearms accessories.
         52.   Prior to the execution of the above described searches, at approximately 1630
hours Seattle Police Department Detective Miko Santiago observed BRITTON and an individual
later identified as Ryan Shay enter an RV bearing VIN#1GBKP37N7P3311042 parked on the
street outside of a cul-de-sac approximately thirty feet from Subject Premises 1. Specifically,
BRITTON was observed driving Subject Vehicle 4 from Subject Premises 1 (approximately
thirty feet) to the RV with Shay as a passenger, then BRITTON and Shay entered the RV
bearing VIN#1GBKP37N7P3311042 for approximately one minute before exiting and
returning to Subject Vehicle 4, where investigators recovered a semi-automatic pistol, a
backpack containing approximately .75 pounds of methamphetamine, and other distribution
amounts of various suspected narcotics described in paragraph 50. An attempt to identify the
registered owner of RV bearing VIN#1GBKP37N7P3311042 was unsuccessful. During a
subsequent interview of Ryan Shay, Shay informed investigators the RV bearing
VIN#1GBKP37N7P3311042 belonged to BRITTON.
         53.   Officers observed the RV bearing VIN#1GBKP37N7P3311042 parked at this
location for two days prior to the execution of the search warrants on April 19, 2022.
Investigators spoke with concerned neighbors of Subject Premises #1 about the RV and learned
from the neighbors that RV bearing VIN#1GBKP37N7P3311042 had been parked in the same
location for approximately one week. RV bearing VIN#1GBKP37N7P3311042 is depicted
below:
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 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 20                        UNITED STATES ATTORNEY
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 USAO # 2021R01291
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AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 21    UNITED STATES ATTORNEY
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USAO # 2021R01291
                                                        SEATTLE, WASHINGTON 98101
                                                              (206) 553-7970
        COMMON CHARACTERISTICS OF DRUG AND FIREARM TRAFFICKER
        54.     As a result of my training and experience and based on my consultation with other
agents and law enforcement officers, I have an understanding of the manner in which narcotics
are distributed and the various roles played by individuals and groups in their distribution. I
have encountered and have become familiar with various tools, methods, trends, paraphernalia,
and related articles utilized by various traffickers in their efforts to import, conceal, and
distribute controlled substances. I am also familiar with the manner in which drug traffickers use
telephones, often cellular telephones, to conduct their unlawful operations. I am also familiar
with the manner in which drug traffickers will use weapons to protect their drug activities and
further its goals.
        55.     Based upon my training, experience, and conversations with other experienced
officers and agents, I know that:
                A.       Drug trafficking conspiracies usually take place over several months or
        years and continue to operate even when enforcement activity results in arrests and/or
        seizures of drugs and/or money.
                B.       Persons involved in the distribution of controlled substances typically will
        obtain and distribute drugs on a regular basis, much as a distributor of a legal commodity
        would purchase
        which will fluctuate in size depending upon the demand for and the available supply of
        the product.
                C.       Those involved in the distribution of illicit drugs often communicate by
        telephone in connection with their illegal activities in order to set up meetings with
        coconspirators, conduct drug transactions, or to arrange for the transportation drugs or
        drug proceeds.
                D.       Drug traffickers routinely change telephone numbers in an attempt to
        thwart law enforcement. When certain members of a drug trafficking organization
        change their telephone numbers, they typically call other members to alert them of the



 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 22                            UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
                                                                                 SEATTLE, WASHINGTON 98101
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     telephone number change. Drug traffickers also regularly subscribe telephone numbers
     to names and addresses other than their own, to conceal the true user of the telephone.
            E.      Those involved in the distribution of illicit drugs often travel by car in
     connection with their illegal activities in order to meet with coconspirators, conduct drug
     and firearms transactions, or to transport drugs and firearms or drug and firearm
     proceeds.
            F.      During the execution of search warrants at the residence of drug dealers, it
     is common to find papers, letters, billings, documents, and other writings, which show
     ownership, dominion and control of vehicles, residences, and/or storage units.
            G.      It is common for drug dealers to secrete contraband, proceeds of drug
     sales, and records of drug transactions in secure locations within their vehicles,
     residences, and/or storage units for their ready access and to conceal these items from law
     enforcement authorities.
            H.      Narcotics traffickers often maintain books, records, receipts, notes, ledges,
     airline tickets, money orders, and other papers relating to the transportation, ordering,
     sale, and distribution of controlled substances.
            I.      Persons involved in drug trafficking often conceal I their residences
     caches of drugs, large amounts of currency, financial instruments, as well as evidence of
     financial transactions relating to obtaining, transferring, secreting, or the spending of
     large sims of money made from engaging in narcotics trafficking activities.
            J.      Illicit drugs are frequently transported into the United States from Mexico
     and other countries, and between cities within the United States in bulk, high-purity form,
     and drug traffickers attempt to mask the distinct odors of particular drugs during such
     transport through the use of heat sealing and/or canning devices and/or aromatic
     substances such as laundry soap, dryer sheets, air fresheners, or axle grease. Likewise,
     money is similarly transported in bulk. It is common for drug traffickers to maintain
     hidden compartments within passenger vehicles, items altered for the purpose of hiding
     or concealing drugs, and items purchased and converted for the use of storing their drugs.

AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 23                         UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
USAO # 2021R01291
                                                                             SEATTLE, WASHINGTON 98101
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               K.      Furthermore, I know that it is common for drug traffickers to secret drugs,
       currency and other valuable items representing the proceeds of drug sales within their
       residences and/or vehicles in order to prevent the theft of such items by other persons or
       the seizure of such items by law enforcement. These secure locations typically include
       other residen
       vaults, or other locked containers (sometimes requiring passwords or codes to open), as


             used specifically to facilitate drug trafficking.
               L.      Drug traffickers commonly have in their possession, on their persons, and
       at their residences, and/or their vehicles and storage units, firearms and other weapons
       which are used to protect and secure a dr
       include, but is not limited to, controlled substances, paraphernalia for the use or sale of
       controlled substances, books, records, jewelry, and United States currency.
       56.     Evidence of drug trafficking, such as the items described above, is likely to be
found in the RV bearing VIN#1GBKP37N7P3311042 in light of the evidence seized from


Specifically, from Subject Premises #1: two (2) semi-automatic pistols; assorted ammunition; a
ballistic vest; various suspected narcotics including suspected fentanyl powder, suspected
methamphetamine, suspected heroin, suspected fentanyl pills, suspected cocaine, and two (2)
small bags with a large amount of U.S. currency. And from Subject Premises #2: three (3)
shotguns, assorted ammunition, and various firearms accessories and Subject Vehicle 4: one
semi-automatic pistol, a backpack containing approximately .75 pounds of methamphetamine,
and other distribution amounts of various suspected narcotics.                                      RV
bearing VIN#1GBKP37N7P3311042 just prior to his arrest provides additional grounds to
believe probable cause exists to search the RV bearing VIN#1GBKP37N7P3311042 as it is
likely being used as a location to store narcotics, items associated with the trafficking of
narcotics, firearms, ammunition, and firearms accessories.
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 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 24                           UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
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                                         CONCLUSION
       Based on the foregoing, I respectfully submit that there is probable cause to believe that
the evidence of the crimes of Distributing, or Possessing with Intent to Distribute, a Controlled
Substance, in violation of Title 21, United States Code, Section 841 and 846, Unlawful
Possession of a Firearm by a Prohibited Person, in violation of 18 United states Code, Section
922(g)(1), Unlawful possession of a Firearm in Furtherance of a Drug Trafficking Crime in
violation of Title 18, United States Code, Section 924(c)(1), and Unlawful Possession of an
Unregistered National Firearms Act (NFA) Firearm, in violation of Title 26 United States Code,
section 5861, as more particularly described in Attachment B hereto, can be found at the RV
bearing VIN#1GBKP37N7P3311042 located at 13102 25th Drive Southeast, Everett,
Washington, 98208, as more particularly described in Attachment A hereto.




                                                     Louis B. Montana, Affiant
                                                     Special Agent, ATF

       The above-named agent provided a sworn statement to the truth of the foregoing affidavit
by telephone on the 20th day of April, 2022.




                                                     BRIAN A. TSUCHIDA
                                                     United States Magistrate Judge




 AFFIDAVIT OF SPECIAL AGENT LOUIS MONTANA -- PAGE 25                         UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
 USAO # 2021R01291
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                                     ATTACHMENT A
                                  Premises to Be Searched
       The RV parked on the street bearing VIN #1GBKP37N7P3311042 to be searched is
described as follows, 13102 25th Drive Southeast, Everett, Washington, 98208.
                                   ATTACHMENT B
                       List of Items to be Searched for and Seized


1.   Controlled Substances: Including but not limited to cocaine, cocaine base in the form of
     crack cocaine, heroin, oxycodone and/or other diverted prescription drugs, and
     methamphetamine.
2.   Drug Paraphernalia: Items used, or to be used, to store, process, package, use, and/or
     distribute controlled substances, such as plastic bags, cutting agents, scales, measuring
     equipment, tape, hockey or duffel bags, chemicals or items used to test the purity and/or
     quality of controlled substances, and similar items.
3.   Drug Transaction Records: Documents such as ledgers, receipts, notes, and similar items
     relating to the acquisition, transportation, and distribution of controlled substances,
     including such records stored in electronic format.
4.   Customer and Supplier Information: Items identifying drug customers and drug
     suppliers, such as telephone records, personal address books, correspondence, diaries,
     calendars, notes with phone numbers and names, "pay/owe sheets" with drug amounts and
     prices, maps or directions, and similar items, including such records stored in electronic
     format.
5.   Cash and Financial Records: Currency and financial records, including bank records, safe
     deposit box records and keys, credit card records, bills, receipts, tax returns, vehicle
     documents, and similar items; other records that show income and expenditures, net worth,
     money transfers, wire transmittals, negotiable instruments, bank drafts, cashier's checks,
     and similar items, including such records stored in electronic format; and money counters.
6.   Photographs/Surveillance: Photographs, video tapes, digital cameras, surveillance
     cameras, and associated hardware/storage devices, and similar items, depicting property
     occupants, friends and relatives of the property occupants, or suspected buyers or sellers of
     controlled substances, controlled substances or other contraband, weapons, and assets
     derived from the distribution of controlled substances, including such records stored in
     electronic format.
7.   Weapons: Firearms, magazines, ammunition, and body armor, and other weapons-related
     items such as holsters and equipment to clean firearms.
8.   Codes: Evidence of codes used in the distribution of controlled substances, including but
     not limited to passwords, code books, cypher or decryption keys, and similar information.
9.   Property Records: Deeds, contracts, escrow documents, mortgage documents, rental
     documents, and other evidence relating to the purchase, ownership, rental, income,
     expenses, or control of the premises, and similar records of other property owned or rented.
10.   lndicia of Occupancy, residency, and/or ownership of assets including, but not limited to,
      utility and telephone bills, canceled envelopes, rental records or payment receipts, leases,
      mortgage statements, and other documents.
11.   Evidence of Storage Unit Rental or Access: rental and payment records, keys and codes,
      pamphlets, contracts, contact information, directions, passwords, or other documents
      relating to storage units.
12.   Evidence of Personal Property Ownership: Registration information, ownership
      documents, or other evidence of ownership of personal property including, but not limited
      to, vehicles, vessels, boats, airplanes, jet skis, all-terrain vehicles, RVs, and other personal
      property; evidence of international or domestic travel, hotel/motel stays; and any other
      evidence of unexplained wealth.
13.   Individual and business financial books, records, receipts, notes, ledgers, diaries,
      journals, and all records relating to income, profit, expenditures, or losses, such as:
      a.      Employment records: paychecks or stubs, lists and accounts of employee payrolls,
              records of employment tax withholdings and contributions, dividends, stock
              certificates and compensation to officers.
      b.      Savings accounts: statements, ledger cards, deposit tickets, register records, wire
              transfer records, correspondence, and withdrawal slips.
      c.      Checking accounts: statements, canceled checks, deposit tickets, credit/debit
              documents, wire transfer documents, correspondence, and register records.
      d.      Loan Accounts: financial statements and loan applications for all loans applied for,
              notes, loan repayment records, and mortgage loan records.
      e.      Collection accounts: statements and other records.
      f.      Certificates of deposit: applications, purchase documents, and statements of
              accounts.
      g.      Credit card accounts: credit cards, monthly statements, and receipts
              of use.
      h.      Receipts and records related to gambling wins and losses, or any
              other contest winnings.
      i.      Insurance: policies, statements, bills, and claim-related documents.
      j.      Financial records: profit and loss statements, financial statements, receipts, balance
              sheets, accounting work papers, any receipts showing purchases made, both
              business and personal, receipts showing charitable contributions, and income and
              expense ledgers.

14.   All bearer bonds, letters of credit, money drafts, money orders, cashier's checks, travelers
      checks, Treasury checks, bank checks, passbooks, bank drafts, money wrappers, stored
      value cards, and other forms of financial remuneration evidencing the obtaining, secreting,
      transfer, and/or concealment of assets and/or expenditures of money.
15.   All Western Union and/or Money Gram documents and other documents evidencing
      domestic or international wire transfers, money orders, official checks, cashier's checks, or
      other negotiable interests that can be purchased with cash. These documents are to include
      applications, payment records, money orders, frequent customer cards, etc.

16.   Negotiable instruments, jewelry, precious metals, financial instruments, and other
      negotiable instruments.

17.   Documents reflecting the source, receipt, transfer, control, ownership, and disposition of
      United States and/or foreign currency.

18.   Correspondence, papers, records, and any other items showing employment or lack of
      employment.

19.   Telephone books and/or address books, any papers reflecting names, addresses, telephone
      numbers, pager numbers, cellular telephone numbers, telephone records and bills relating to
      co-conspirators, sources of supply, customers, financial institutions, and other individuals
      or businesses with whom a financial relationship exists.

20.   Safes and locked storage containers, and the contents thereof that are otherwise described in
      this document.

21.   Tools: Tools that may be used to open hidden compartments in vehicles, paint, bonding
      agents, magnets, or other items that may be used to open/close or conceal said
      compartments.

22.   Cell Phones: Cellular telephones and other communications devices including smartphones
      (i.e., iPhones, Android phones, Blackberries, and the like) may be seized, if directly linked
      to BRITTON and will be the subject of an Application for a subsequent Search Warrant.
